         Case 1:21-cv-02900-CJN Document 192 Filed 02/29/24 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                )
HERRING NETWORKS, INC., D/B/A                   )   Case No. 1:24-mc-00022-CJN
ONE AMERICA NEWS NETWORK,                       )
                                                )   Underlying case No. 1:21-cv-02900-CJN
                             Movant,            )
                                                )   NOTICE OF APPEARANCE FOR
       v.                                       )   NON-PARTY GOOGLE LLC
                                                )
GOOGLE LLC,                                     )
                                                )
                             Respondent.        )


TO THE CLERK AND ALL PARTIES OF RECORD:

       Please enter my appearance as counsel in this case for Non-party Google LLC (“Google”)

in connection with Movant’s motion to compel filed on January 26, 2024. I certify that I am

admitted to practice before this Court (Bar ID No. 110445).

       Movant has withdrawn the notice of hearing on its motion to compel in the Eastern District

of Virginia, and Google is searching for documents responsive to Movant’s subpoena. See ECF

No. 17. If and when Movant wishes to renew its motion, Google will avail itself of the Court’s

teleconference procedure for resolving discovery disputes.

Dated: February 29, 2024                    Respectfully submitted,

                                            WILSON SONSINI GOODRICH & ROSATI
                                            Professional Corporation

                                            By: s/ Benjamin D. Margo
                                            Benjamin D. Margo (Bar ID No. 110445)
                                            1301 Avenue of the Americas, 40th Floor
                                            New York, New York 10019
                                            Telephone: (212) 497-7700
                                            Email: bmargo@wsgr.com

                                            Counsel for Non-party Google LLC
        Case 1:21-cv-02900-CJN Document 192 Filed 02/29/24 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of February 2024, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system in the dockets for the

miscellaneous action (Case No. 1:24-mc-00022-CJN) and the underlying case (Case No. 1:21-cv-

02900-CJN).

                                             /s/ Benjamin Margo
                                             Benjamin Margo




                                                -2-
